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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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   UNITED STATES OF AMERICA
                                                                                          ORDER
                            -against-                                                10-CR-820-2 (NGG)

   ANDRE COLLIER,
                                     Defendant.
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 NICHOLAS G. GARAUFIS, United States District Judge.

          On August l, 2013, the court sentenced Defendant Andre Collier to 420 months of

 imprisonment following his conviction of firearm-related murder, in violation of 18 U.S.C.

 § 924(j)(l). (J. (Dkt. 150); see also Statement of Reasons (Dkt. 151) (filed under seal).)

          On September 28, 2015, Defendant filecl a prose motion for reduction in sentence

 pursuant to 18 U.S.C. § 3582(c)(2), relying on recent amendments to the U.S. Sentencing

 Guidelines. (Mot. to Reduce Sentence (Dkt. 173).) On December 14, 2015, the Government

 responded in opposition to Defendant's motion. (See Gov't's Resp. in Opp'n to Mot. to Reduce

 Sentence ("Gov't's Opp'n") (Dkt. 176).) The Government argues that Defendant is not eligible

 for a reduction in sentence based on his conviction of firearm-related murder. (Id. at 2.)

         Section 3582(c)(2) provides that a term of imprisonment may.be modified "in the case of

 a defendant who has been sentenced to a term of imprisonment based on a sentencing range that

 has subsequently been lowered by the Sentencing Commfasion ... after considering the factors

 set forth in (18 TJ.S.C. §] 3553(a) to the extent that they are applicable, if such a reduction is

 consistent with applicable policy statements issued by the Sentencing Commission." The

 Supreme Court has established a two-step inquiry to guioe a district court in its consideration of

 a§ 3582(c)(2) motion. See Dillon v. United States, 560 U.S. 817, 826 (201 O); United States v.

 Christie, 736 F.3d 191, 194-95 (2d Cir. 2013). "First, the district court must determine whether

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 the defendant in question is 'eligible for a reduction in sentence."' Christie, 736 F.3d at 194

 (emphasis in original) (quoting United States v. Mock, 612 F.3d 133, 137 (2d Cir. 2010)).

 Second, if a defendant is eligible for resentencing, the court must then consider any applicable

 § 3553(a) factors to determine whether the authorized reduction is warranted in whole or in part

 under the particular circumstances of the defendant's case. Dillon, 560 U.S. at 827.

         Pursuant to Amendment 782 to the Guidelines, effective November l, 2014, the

 Sentencing Commission modified the base offense levels in the Drug Quantity Table at

 section 2Dl.1 of the Guidelines, thereby lowering the sentencing range for certain drug-related

 offenses. See U.S.S.G. App. C (Supp.) at 64, 71, 74 (2014). Amendment 788 to the Guidelines

 provides that Amendment 782 applies retroactively to defendants sentenced before its effective

 date. See id. at 86-88 (amending U.S.S.G. § 181.lO(d) (listing sentencing amendments eligible

 fo; retroactive application)).

        If a defendant is ~ligible for a reduction i.n sentence, the court proceeds to the second step

 of the Dillon analysis to determine whether a reduction in sentence is warranted in light of the

 factors enumerated in 18 U.S.C. § 3553(a). See Dillon, 560 U.S. at 827. Under§ 3553(a), the

 court must consider, among other things, "the nature and circumstances of the offense and the

 history and characteristics of the defendant," and the need for the sentence imposed to "protect

 the public from further crimes of the defendant." See 18 U.S.S. § 3553(a). Where a reduction is

 authorized, the Guidelines provide that "the court shall not reduce the defendant's term of

 imprisonment under 18 U.S.C. § 3582(c)(2) ... to a term that is less than the minimum of the

 amended guideline range." U.S.S.G. § 1Bl.10(b)(2)(A). But see id.§ 1Bl.10(b)(2)(B)(setting

 forth exception for a defendant originally sentenced pursuant to a government motion reflecting

 the defendant's substant;at assistance to authorities).



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        Here, Defendant is not eligible for a reduction in sentence, and therefore fails at the first

 step of the Dillon analysis. During his original sentencing, the court determined Defendant's

 advisory guidelines range of360 months of imprisonment to life in prison based on U.S.S.G.

 § 2Al.l, applicable to first-degree murder and other premeditated killings. (See Statement of

 Reasons at l; see also Gov't's Opp'n at 2.) While Amendment 782 made certain changes to the

 Drug Quantity Table in section 2Dl.1 of the Guidelines, it does not affect§ 2Al .1, the section of

 the Guidelines that the court consulted in sentencing Defendant. Accordingly, for the reasons set

 forth above, Defendant's motion is DENIED.

        Because Defendant is not eligible for a sentence reduction pursuant to Amendments 782

 and 788 tc; the Sentencing Guidelines, the court need not proceed to the second step of the Dillon

 analysis. See 560 U.S. at 827.

        SO ORDERED.
                                                                       s/Nicholas G. Garaufis
 Dated: Brooklyn, f)ew York                                            N      HOLAS G. GARAUFIS
        December~, 2015                                                    nited States District Judge




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